Case:21-03391-ESL13 Doc#:21 Filed:01/24/22 Entered:01/24/22 10:52:38                  Desc: Main
                           Document Page 1 of 2



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF PUERTO RICO



       In the Matter Of:                                    Case No. 21-03391 (ESL)

       SEBASTIAN NEGRON TORRES                              Chapter 13
       SSN: xxx-xx-1010

       Debtor



                       NOTICE OF WITHDRAWAL OF MOTION TO DISMISS


       TO THE HONORABLE COURT:

                COMES NOW, creditor POPULAR AUTO LLC, represented by the undersigned

       attorney and very respectfully states and prays as follows:

                1. On January 4th 2022, appearing creditor filed a “Motion to Dismiss Under

       §1307(c)(4)” at docket no. 11. Said motion was filed because debtor failed to commence making

       payments to the chapter 13 trustee as provided in his chapter 13 plan.

                2. Debtor cured the arrears owed to the trustee. In light of the above-stated, appearing

       creditor wishes to withdraw its Motion to Dismiss.

                WHEREFORE, creditor POPULAR AUTO LLC, respectfully requests this Honorable

       Court to take notice of the withdrawal of its Motion to Dismiss.

                                        CERTIFICATE OF SERVICE

                I HEREBY CERTIFY: That on January 24th 2022, I electronically filed the foregoing

       with the Clerk of the Court using the CM/ECF System which will send notification of such filing

       to the following: Victor Thomas Santiago, Esq., Attorney for debtor; Mr. Alejandro Oliveras

       Rivera, Esq., Chapter 13 Trustee; and I hereby certify that I have mailed by the United States
Case:21-03391-ESL13 Doc#:21 Filed:01/24/22 Entered:01/24/22 10:52:38                   Desc: Main
                           Document Page 2 of 2
       Notice of Withdrawal of Motion to …
       Case No. 21-03391 (ESL)
       By: Popular Auto
       January 24, 2022
       Page No. 2

       Postal Service the document to the following non CM/ECF participants: Mr. Sebastian Negron

       Torres, Debtor, 658 Ave. Miramar 901, San Juan, P.R. 00907.

               Respectfully submitted in San Juan, Puerto Rico, this 24th day of January, 2022.



                                                    s/ EDGAR A. VEGA RIVERA
                                                    EDGAR A. VEGA RIVERA, ESQ.
                                                    USDC- PR 212210
                                                    Attorney for Popular Auto LLC
                                                    Consumer Bankruptcy Department
                                                    PO Box 366818
                                                    San Juan, Puerto Rico 00936-6818
                                                    Tel. (787) 753-7849; Fax. (787) 751-7827
                                                    E-mail: edgar.vega@popular.com
